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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                         AUGUSTA DIVISION

 THE TWELFTH CONGRESSIONAL                   )
 DISTRICT REPUBLICAN                         )
 COMMITTEE, et al.,                          )
                                             )
                      Plaintiffs,            )
                                             )
 v.                                              Civil No. 1:20-cv-00180-JRH-BKE
                                             )
 BRADFORD J. RAFFENSPERGER,                  )
 et al,                                      )
                                             )
                     Defendants.
                                             )


    NOTICE OF PLAINTIFFS' SUBSTANTIAL COMPLIANCE WITH
       COURT ORDER TO PERFECT SERVICE OF PROCESS

      On December 14, 2020, the Court ordered Plaintiffs to perfect service by

9:00 p.m. on that same day. Plaintiffs represents to the Court that the following has

occurred:

      1.     On December 9, 2020 at 7:07 p.m., a copy of the filed Complaint and

Motion for TRO was delivered to all Defendants via email with a request to waive

formal service. See Ex. A, Email from C. Kachouroff.

      2.     At no time has Mr. Kachouroff received a response from any

Defendant or a rejection of the email from any email server from the initial email.




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      3.     On December 10, 2020, UPS processed via two-day mail, separate

envelopes containing the Complaint and Motion for TRO. Those UPS envelopes

were delivered on December 14, 2020 between 9:47 a.m. and 12:45 p.m. to

Defendants' known work addresses. See Exhibit B, UPS confirmations.

      4.     Chilton Gibbs & Associates, LLC was retained to effect service late in

the day on December 10 and received the summonses early on December 11.

      5.     On December 11, 2020, Intervenor-Defendants filed their Motion to

Intervene.

      6.     The following is the status of private service of process:

             a. The Supervisor of Elections accepted service on behalf of the

                Richmond County Elections Board on December 14, 2020 at noon.

                See Ex. C.

             b. Defendant Sullivan could not be served because the Georgia

                Department of Administrative Services was not open on Monday

                and so arrangements were made with Jordan Fuchs to accept

                service on Tuesday.

             c. Most of the remaining Defendants were formally served on the

                afternoon of Tuesday, December 15, 2020. See Ex. D.

             d. Defendant Mashburn was not in his office and his law firm has

                refused to accept service on his behalf.

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      7.    Plaintiffs have attempted to strictly comply with the Court's order and

believe that service on has been substantially complied with in that Defendants

received actual copies of the Complaint and Motion for TRO via email and before

Tuesday, December 15, 2020.


                                    Respectfully submitted,

                                    12th CONGRESSIONAL DISTRICT
                                    REPUBLICAN COMMITTEE, et al.

                                    /s/ Christopher I. Kachouroff
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                                    Counsel for Plaintiffs

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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 15, 2020, I electronically filed this

document with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to the attorneys of record:

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This 15th day of December, 2020.



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